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 7
                                IN THE UNITED STATES DISTRICT COURT
 8
                                   EASTERN DISTRICT OF CALIFORNIA
 9

10   UNITED STATES OF AMERICA,                          CASE NO. 2:17-CR-053 JAM
11                                Plaintiff,            STIPULATION TO CONTINUE TRIAL AND
                                                        TRIAL CONFIRMATION HEARING;
12                         v.                           EXCLUDABLE TIME PERIODS UNDER SPEEDY
                                                        TRIAL ACT; FINDINGS AND ORDER
13   TIMOTHY CHAPIN,
     MANUEL AGUEROS,                                    DATE: TCH October 7, 2018 and Trial Date
14   PAUL FOURNIER,                                     November 5, 2018 (9:00AM).
     ROBERT LAUTENSLAGER,                               TIME: 9:15 a.m.
15   JEFFREY REILLEY,                                   COURT: Hon. John A. Mendez
     JORGE EGUILUZ,
16
                                 Defendants.
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19                                             STIPULATION
20          Plaintiff, United States of America is represented by Assistant United States Attorney Kevin C.
21 Khasigian, defendant Jorge Eguiluz is represented by Donald H. Heller, and defendant Jeffrey Reilley is

22 represented by Tim Pori. The parties hereto stipulate as follows:

23          1.     The defendants Jorge Eguiluz and Jeffrey Reilley have entered not guilty pleas and on
24 July 10, 2018, in open court before the Honorable John A. Mendez, United States District Judge, the

25 case was scheduled for a jury trial for November 5, 2018 at 9:00AM and a Trial Confirmation Hearing

26 on October 2, 2018 at 9:15 AM. At the trial setting hearing the government was represented by Assistant

27 United States Attorney Nirav Desai. At said hearing, Mr. Desai indicated that Mr. Khasigian who would

28 be sitting second chair was commencing a jury trial at the end of September in this District and the

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 1 government wish to set this trial early 2019. The court indicated that the government should bring in a

 2 new attorney to sit second chair and set the above referenced trial date.

 3          2.      Mr. Desai is currently in trial before the Honorable Kimberly Mueller, United States

 4 District Judge, in the case of United States v. Rodney Flucas, Case 2:17-cr-00209-KJM. The trial is

 5 expected to continue through September 20, 2018, and then Mr. Desai is ending his federal service.

 6          3.      Mr. Heller in early September had a telephone conversation with Assistant United States

 7 Attorney Matthew Segal, a supervisor in the U.S. Attorney’s office, wherein, Mr. Segal explained that

 8 Mr. Desai was leaving the United States attorney’s office and inquired as to whether Mr. Heller would

 9 oppose continuing the trial in this matter since Mr. Khasigian would be the lead trial lawyer and Mr.

10 Khasigian required additional time to prepare and assume the position of lead trial counsel for the

11 government, preparation which will be delayed since Mr. Khasigian to commence a jury trial on October

12 29, 2018, United States v. Sanders, Case 2:16-cr-00081-JAM, and needed additional time to prepare for

13 trial. It was noted by Mr. Segal and later by Mr. Khasigian, that although Mr. Khasigian was originally

14 selected to sit as second chair in this matter, he only had general knowledge since he was involved in the

15 forfeiture aspect of the case, he had not reviewed the voluminous 16, 000 pages of discovery. Mr.

16 Heller advised that he would not object to continuing trial and advised that he later checked with Mr.

17 Pori who also expressed no objection to the continuance.

18          4.      Additionally, Mr. Heller in his telephone conversation with Mr. Segal, also described a

19 medical reason as to why he would agree to continue the matter. When trial was set on July 10, 2018, he

20 was unaware of subsequent personal health matters that he would need to undergo a medical procedure

21 on December 5, 2018. That medical procedure was scheduled on August 17, 2018, to be performed on

22 December 5, 2018. Had Mr. Heller been aware on of a medical procedure scheduled for December 5,

23 2018, on July 10, 2018, he would have requested a trial date in early 2019. Mr. Heller would be happy

24 to provide the Court with HIPAA protected documents under seal describing in detail the medical reason

25 for said continuance, if the court so desires.

26          5.      Mr. Heller contacted Harry Vine and obtained the following dates for a continuance of

27 trial and trial confirmation hearing: Jury Trial on February 25, 2019 at 9:00AM and Trial Confirmation

28 Hearing on January 22, 2019 at 9:15AM

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 1          6.      The parties agree that time should be excluded under the Speedy Trial Act, 18 U.S.C. §

 2 3161, et seq., within which trial must commence, the time period from the date of entry of this order to

 3 February 25, 2019, inclusive, be deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local

 4 Code T4] because it results from a continuance granted by the Court at the Government’s request

 5 concurred in by defendants through counsel, on the basis of the Court’s finding that the ends of justice

 6 served by taking such action outweigh the best interest of the public and the defendants in a speedy trial.

 7          7.      The parties agree and stipulate, and request that the Court find the following:

 8                  a)      The government has represented that the discovery associated with this case

 9          includes documents, financial records, video recordings, audio recordings, transcripts, and native

10          Excel files, Bates-numbered CHAPIN_00000001 through CHAPIN_00019452. All of this

11          discovery has been either produced directly to counsel and/or made available for inspection.

12                  b)      Counsel for Defendant Reilley has been in discussions with the government

13          relating to the possible resolution or trial of this case as to his client, which requires further

14          investigation and discussion.

15                  c)      Mr. Heller has a personal medical reason why he would consent to the trial

16          continuance, which justifies the continuance.

17                  d)      Based on the above-stated findings, the ends of justice served by continuing the

18          case as requested outweigh the interest of the public and the defendant in a trial within the

19          original date prescribed by the Speedy Trial Act.

20                  e)      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

21          et seq., within which trial must commence, the time period of TCH October 7, 2018 and Trial

22          Date November 5, 2018 (9:00AM). to July 10, 2018, inclusive, is deemed excludable pursuant to

23          18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code T4] because it results from a continuance granted

24          by the Court at the Government’s request concurred in by the defendants as stated in the

25          stipulation and on the basis of the Court’s finding that the ends of justice served by taking such

26          action outweigh the best interest of the public and the defendant in a speedy trial.

27   Nothing in this stipulation and order shall preclude a finding that other provisions of the Speedy Trial

28 Act dictate that additional time periods are excludable from the period within which a trial must

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 1 commence.

 2        IT IS SO STIPULATED.

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 4
     Dated: September 14, 2018                         MCGREGOR W. SCOTT
 5                                                     United States Attorney
 6
                                                       /s/ KEVIN C. KHASIGIAN
 7                                                     KEVIN C. KHASIGIAN
                                                       (authorized via email on September 18,
 8                                                     2018)_Assistant United States Attorney
 9
     Dated: September 14, 2018                         /s/ Donald H. Heller
10                                                     DONALD H. HELLER, ESQ.
11                                                     Counsel for Defendant
                                                       JORGE EGUILUZ
12

13   Dated: September 14, 2018                         /s/ Tim Pori
                                                       TIM PORI, ESQ.
14                                                     Counsel for Defendant
                                                       JEFFREY REILLEY
15
                                                       (authorized via email on
16                                                     September 14, 2018)_

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19                                       FINDINGS AND ORDER

20        IT IS SO FOUND AND ORDERED this 18th day of September, 2018.

21
                                                      /s/ John A. Mendez
22                                                THE HONORABLE JOHN A. MENDEZ
                                                  UNITED STATES DISTRICT COURT JUDGE
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